 

Case 3:15-cv-00499-MMD-WGC Document 20 Filed 01/12/17 Page 1 of 4

 

 

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Case No. “15-C ~ - “| Cc

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COMES NOW petitioner,._. JUSPH MIZIONE , in peo se, and moves
this Court for an order appointing him counsel in and for the instant § 2254

habeas corpus proceeding.

 

This motion is made and based upon 18 U.S.C. § 3006A(g), 26 U.8.C-
( file
§ 1915(e)(1), 26 U.S.C. § 2254(h) ali papers, pleadings and documents on
herein; and the following pointe and authorities. -
POINTS AD AUTHORITIES
I. gratmenrr oF Facts
Petitioner is unable to afford counsel. See Application to Proceed In

earmark on file herein.

The substantive issues and procedural matters in this case are too complex
for Petitioner's comprehension and abilities.

Petitioner, by reason of his incarceration,. cannot investigate, take
pevoeistene, or otherwise discover evidentiary materials on his own accord.

 

 

 
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Petitioner's sen structure is —2 2 S.vacs :

There ____ are are not additional facts attached hereto on additional
page(s) to be incorporated herein.
Counsel could not only assist Petitioner with a much better presentation
of the substantive and procedural issues before this Court,.e.g., merits of the
claims, AEDPA's § 2254(d) test,. exhaustion,.etc., but counsel would likewise
make much easier this Court's task of discerning the issues and adjudicating
them as upon a competent counsel's ability to present same to the Court.

| The ends of justice would best be served in this case via the appointment
of counsel, as Petitioner's sentence structure,. in conjunction with the
complexities of the legal issues herein, plesd for such an appointment.

TI. ARGUMENT FOR APPODTNERE

Appointment of counsel in { 2254 cases is authorized vithin 18 U.S.C.
$ 3006A(g) and 28 U.S.C. §§ 1915(e)(1); 2254(h). This Court may appoint
counsel where the “interests of justice” so require. Jeffers v. Levis, 69 F.3d
295, 297-96 (9th Cir. 1995). This interest is best served when indigent =
petitioners who are unable to “adequately present their cases" are appointed
counsel to do so for them. Ji.

Although appointment is usually vithin this Court's sound discretion, a
handy forma for this Court's consideration is a alancing of the complexties
of the issues with a consideration of the severity of the petitioner's penalty.
Chaney v. Lewis, 901 F.2d 1191, 1196 (9th cir.), cart. denied, 481 U.S. 1023
(1987). Ultimately, however, absent a due process implication,. this Court has
discretion to appoint counsel when it feels that it promotes justice in doing
so. Ii. See Brown v. United States, 623 F.24 54, 61 (9th Cir. 1980)(court
lgust appoint counsel vhere the complexities of the case are such that denial of
Counsel would amount to denial of due process); Haviine v. Bennett, 423 F.24
948 (8th Cir. 1970)(counsel must be appointed vhere petitioner 1s a person of

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such limited education as to be incapable of presenting his clains fairly).
+ Petitioner submits that the ‘facts above, in conjunction with these legal
principles, compel appointment of counsel. Indeed, the complexities of the
issues in relation to Petitioner's sentence, implicate the need of counsel to
promote not only justice, but fairness, as well. Jeffers, 68 F.3d at 297-96.

COR es

   

For the reasons set forth above, this Court should appoint counsel to
represent Petitioner in and for ait further procesdings in this § 2254 habese

corpus action.

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